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 2
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 3   Sacramento, CA 95814
 4
     Attorney for Aricela Villa
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 9
                         IN THE UNITED STATES DISTRICT COURT

10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                      )   Case No.: 2:07cr00515-07 WBS
12                                                  )
                  Plaintiff,                        )   STIPULATION AND ORDER
13                                                  )
           v.                                       )   DATE: January 20, 2012
14                                                  )   TIME: 8:30 a.m.
     ARICELA VILLA,                                 )   JUDGE: Honorable William Schubb
15                                                  )
                  Defendants.                       )
16                                                  )
17

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           It is hereby stipulated and agreed to between the United States of America through

19
     MICHAEL BECKWITH, Assistant U.S. Attorney, and defendant, Aricela Villa, through

20
     her counsel, KRESTA DALY, that the sentencing hearing of January 20, 2012 be

21
     vacated and that sentencing hearing be set for March 5, 2012 at 9:30 a.m.

22

23
     DATED: January 18, 2012                 Respectfully submitted,

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25

26
                                              s/Kresta Daly_____________
                                             KRESTA DALY
27                                           Attorney for Aricela Villa
28   //


                                                1
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 2

 3                                      s/Kresta Daly_____________
     DATED: January 18, 2012           Michael Beckwith
 4
                                       Assistant United States Attorney
 5

 6

 7                                   ORDER
 8
          IT IS SO ORDERED.
 9
     DATED:     January 19, 2012
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